Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 1 of 11

Freedom of Information/Privacy Act Request USCIS
i, Form G-639
Department of Homeland Security OMB No. 1615-0102
U.S. Citizenship and Immigration Services Expires 07/31/2025

What Is th

e Purpose of Form G-639?

Use Form G-6
Act (FOIA) at
amendment or

39 to request access to U.S. Citizenship and Immigration Services (USCIS) records under the Freedom of Information
5 U.S.C. 552 and the Privacy Act of 1974 (PA) at 5 U.S.C. 552a, if applicable. You may also use this form to request
correction of records pertaining to you under the PA, if applicable.

Your Options to Make a FOIA or PA Request with USCIS

You can make

° Online at 4

* Using this

« In writing

a FOIA or PA request:

www.uscis.gov/foia;
Form G-639; or

land in accordance with the requirements of the FOIA and PA.

Our online FO
request.

Request and Receive Records Faster Online

IA and PA services are a more efficient way to request and receive records than by using Form G-639 to make a

When you make your request online, USCIS receives it immediately and we can deliver the response to you immediately after the

records are pra

You will also f

* Receive i
* Respond

Making your ri
through a mail
in, first-out pre

cessed.

de able to:

Ce updates when we act on your request;

ter if we ask you to give us more information; and

equest online helps ensure your request contains the required information and reaches us immediately, rather than
ed postal delivery. Once you provide the information necessary to process your request, we will add it to the same first-
ycessing queue ordinarily used for all requests.

Once we release records you request online, you can use your online account to:

* View the

on any internet connected device, such as a smartphone, tablet, or computer;

* Access the records as soon as they are available, rather than waiting for them by mail; and

* Continue t

Oo access your records through your online account and print them whenever you need.

If You Make Your Request Using This Form

|
If you complete and submit this form, we will send all correspondence and any records we release through U.S. mail, requiring time

for transit and
ROM, so you
(www.uscis.¢

receiving. Unless you specify another format, any records responsive to your request will be sent to you on a CD-
ill need to use a computer with an optical drive to view them. Alternately, if you request records online

Teitata) using FIRST, you can download them without the need for equipment other than a computer, smartphone, or

tablet that is c
Do not use Fo

¢ Status Inc
your case
Contact C
service, ca

¢ Consular
Petition, t

mnected to the internet.
rm G-639 for:

yuires. Contact the USCIS office where the application or petition was filed or visit https://egov.uscis.gov to check
status online. You may also reach out to the USCIS Contact Center at www.uscis.gov/contactcenter. The USCIS
enter provides information in English and Spanish. For those who are deaf or hard of hearing and use a TTY relay
ill 1-800-767-1833.

Notification of a Visa Petition Approval. Use Form 1-824, Application for Action on an Approved Application or
b request consular notification of visa petition approval.

Form G-639 Ed

ition 07/25/2022 Page | of 11
Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 2 of 11

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¢ Return of Original Documents. Use Form G-884, Request for the Return of Original Documents, to request the return of
original documents.

* Requesting a Certificate of Non-Existence

e Naturalization Records Before September 27, 1906. Contact the clerk of court where the naturalization occurred to request
naturalization records before September 27, 1906.

* USCIS Manifest Arrivals Before December 1982. Contact the National Archives at https://www.archives.gov/contact to
request information on USCIS manifest arrivals before December 1982.

* Proof of Status for Non-Immigration Benefits. Contact the Federal agency responsible for the benefit (for example, Social
Security benefit, Selective Service requirement) to obtain proof of status.

General Instructions

USCIS provides forms free of charge through the USCIS website. To view, print, or fill out our forms, you should use the latest

version of Adobe Reader, which you can download for free at https://get.adobe.com/reader/. If you do not have internet access, you
may call the USCIS Contact Center at 1-800-375-5283 (TTY 1-800-767-1833) and ask that we mail a form to you. The USCIS
Contact Center provides information in English and Spanish.

How To Fill Out Form G-639
1. Type or "T. legibly in black ink.

2. Ifyou need extra space to complete any item within this request, use the space provided in Part 5. Additional Information or
attach a separate sheet of paper. Type or print the Subject of Record's name and Alien Registration Number (A-Number) (if any)
at the top of each sheet; indicate the Page Number, Part Number, and Item Number to which your answer refers; and sign and
date each sheet.

3. Answer all questions fully and accurately. If a question does not apply to you (for example, if you have never been married and
the question asks, “Provide the name of your current spouse”), type or print “N/A” unless otherwise directed. If your answer to a
question which requires a numeric response is zero or none (for example, “How many children do you have” or “How many times
have you departed the United States”), type or print “None” unless otherwise directed.

Read the Entire Form and Complete as Much as Possible

The information USCIS requests in this form helps us locate the records and information you request.
You are not required to respond to every item, but if you do not provide enough information we may:
* Require more time to fulfill your request;

* Need to request more information from you, delaying our response; or

* Not be able|to locate the records or information you request.

Form G-639 Edition 07/25/2022 Page 2 of 11
ase 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 3 of 11

> START HERE - Type or print in black ink.
Part 1. Specify the Nature of your Request

NOTE: On this form, the individual to whom a record pertains is described as the subject of record.
1. Select Type of Request

Select the box that indicates the nature of your request, and the type of records you are requesting. If you need extra space to
complete this section, use the space provided in Part 5. Additional Information.

[_] A. Information from your own immigration record;
[_] B. Information from another person's immigration record;
[_] C. USCIS business, operational, or policy records:

[_] D. An amendment or correction of your record under the Privacy Act;

[_] E. An amendment or correction of another person's immigration record on their behalf under the Privacy Act;

or

[] F. Other records in USCIS custody.

If you selected Item B. or E. in Item Number 1., complete Part 4. Third-Party Requestor, along with other pertinent sections
of this form.

If you selected Item A., C., D., or F. in Item Number 1., do not complete Part 4. Third-Party Requestor section of this form.
2. Request Specific Documents

If you request specific documents, USCIS will usually be able to process your request faster than if you request a large set of
records, such as an entire A-File.

Select the|/types of records you are requesting, if applicable, from this list of commonly requested records:

[_] Apprehensions, and Date of Apprehension (mm/dd/yyyy)
Birth|certificate

Form) I-94, with Date of Entry (mm/dd/yyyy)

Passport

Other Arrival/Departure documents into the U.S., with Date of Entry (mm/dd/yyyy)

I-129| Petition for a Nonimmigrant Worker

I-90, Application to Replace Permanent Resident Card (Green Card)
I-130| Petition for Alien Relative

I-140) Immigrant Petition for Alien Workers

[-485, Application to Register Permanent Residence or Adjust Status
I-751, Petition to Remove Conditions on Residence

N-400, Application for Naturalization

Labor certification issued by the U.S. Department of Labor
Naturalization certificate

Proof of Lawful Permanent Resident (LPR) status

DG he Ga 9 feed id

Record of removal from the U.S., with Date of Removal (mm/dd/yyyy)

O

Other (Explain):

If you need extra space to complete this section, use the space provided in Part 5. Additional Information.

Form G-639 Edition 07/25/2022 Page 3 of 11
Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 4 of 11

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Part 1. Specify the Nature of your Request (continued)

3. Qualifications for Expedited Processing
Select any of the following circumstances if applicable to your request:

[_] Circumstances in which the lack of expedited processing could reasonably be expected to pose an imminent threat to the life
or physical safety of an individual.

[_] An urgency to inform the public about an actual or alleged Federal government activity, if made by a person primarily
engaged in disseminating information.

[_] The loss of substantial due process rights.

[_] A matter of widespread and exceptional media interest in which there are possible questions about the government's integrity
which affect public confidence. Requests for expedited processing based upon this category must be submitted to the Senior
Director of FOIA Operations, the Privacy Office, U.S. Department of Homeland Security, 245 Murray Lane SW STOP -
0655, Washington, DC 20598-0655.

4. Statement Requesting Expedited Processing

To receive expedited processing, you must further explain why you are requesting it. In Part 5. Additional Information, type or
print a detailed statement explaining your selection in [tem Number 3.

5. Information Pertaining to an Upcoming Immigration Court Proceeding

If the subject of record has an upcoming immigration court proceeding, USCIS may be able to process the request on an
accelerated track. Select the box if the following circumstance applies to your request.

[_] The subject of record has a date scheduled for an immigration court proceeding,

If selected, include a copy of one of the following forms, as issued by the U.S. Department of Homeland Security or
U.S. Department of Justice, with your request:

¢ Form 1-862, Notice to Appear, documenting the upcoming date of the Subject's hearing before the Immigration Judge;
¢ Form I-122, Order to Show Cause, documenting the upcoming date of the Subject's hearing before the Immigration Judge;
* Form I-863, Notice of Referral to Immigration Judge; or

* A written notice of continuation of a future scheduled hearing before the Immigration Judge.

Part 2. Provide Information to Identify the Subject of Record

The individual to whom a record pertains is described as the subject of record. The more information you provide about the subject of
record, the better USCIS can identify the records you are requesting.

Subject of Record's Identifying Information
1. Alien Registration Number (A-Number):

USCIS isques Alien Registration Numbers, otherwise known as an “A-Number,” to persons who apply for, or are granted, certain
immigration benefits. U.S. Customs and Border Protection (CBP) or U.S. Immigration and Customs Enforcement (ICE) may also
issue A-Numbers. If the subject of record was issued an A-Number(s), type or print it in the spaces provided. If they do not have
an A-Number, or do not remember it, leave this space blank.

> A- >» A- > A-

2. Date of Birth (mm/dd/yyyy) f=

3. Country of Birth

Provide the name of the country where the subject of record was born. If the country's name has changed or the country no longer
exists, list}the country as it was named when the subject of record was born.

Form G-639 Edition 07/25/2022 Page 4 of 11

Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 5 of 11

Part 2. Provide Information to Identify the Subject of Record (continued)

4. Receipt Number
Provide the USCIS receipt number that corresponds to any request the subject of record filed with USCIS.

A. > | B >
Cc. > |
Subject of Record
5. Subject of Record's Name
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

6. Additional Names Used

If applicable, list any additional names the subject of record has used, including any nicknames, aliases, and maiden name, in
Item Number 8. Ifthe subject's name has changed since they entered the United States, indicate the name used at the time of
entry in Item Number 9. If you need extra space to complete this section, use the space provided in Part 5. Additional
Information.

A. Additional Name 1
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

B. Additional Name 2
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

C. Additional Name 3
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

7. Name Used Upon Entry to the United States
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

| | |

Subject of Record's Mailing Address and Contact Information

8. List the subject's contact information. You may list a valid residence, Army Post Office (APO), Fleet Post Office (FPO), or
commercial address in the United States. You may list a post office address (PO Box) if that is how the subject receives their

mail.

Street Number and Name Apt. Ste. Flr. Number
OOO

City or Tawn State ZIP Code

Province Postal Code Country

Telephone Number Email Address

Form G-639 Edition 07/25/2022 Page 5 of 11

Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 6 of 11

|Part 2. Provide Information to Identify the Subject of Record (continued)

|
9. Subject of Record's Father

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

[_] Father's Name is unknown.
10. Subject of Record's Mother

Family Name (Last Name) Maiden Name, or previous last names

Given Name (First Name) Middle Name (if applicable)

[_] Mother's Name is unknown.

11. Additional Family Members that May Appear on Requested Records

Provide the family member's full name and their relationship to the subject of record for any individual that may appear on the
requested records, for example, a spouse or children.

A. Name 1
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

Relationship

B. Name 2
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

Relationship

C. Name 3
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

Relationship

If you need extra space to complete this section, use the space provided in Part 5. Additional Information.
12. Avoiding Redaction of Records Mentioning Additional Persons
To protect the privacy of each person mentioned in records we release, we redact their information unless you provide:

° Their consent for us to release their information, either in a notarized document, or a document signed under penalty of
perjury, or;
* Proof they are deceased, with a death certificate, obituary, photograph of a funeral memorial or monument; or screen print

from the Social Security Death Index; or probate documents filed in court. This is not required if they were born more
than 100 years before you submit this form.

Include these documents with this Form G-639 and complete pertinent sections of Part 5. Additional Information.

Form G-639 Edition 07/25/2022 Page 6 of 11

Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 7 of 11

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|Part 3. Certification of Request and Consent to Release, Amend, or Correct Records

Requestor Consent to Pay Potential Fees

USCIS will contact you with instructions if any fees are required. Please do not send any payment at the time of your request.

In accordance with Department of Homeland Security Regulations, your request constitutes an agreement to pay any fees that may be

chargeable u

of ena

copies and tw
will charge yo

to $25.00. We may charge fees for searching for records at the respective clerical, professional, and/or managerial rates
/$10.25 per quarter hour, and for duplication of copies at the rate of $.10 per copy. We do not charge for the first 100

o hours of search time, and the remaining combined charges for search and duplication must exceed $14.00 before we

u any fees. Search and processing fees are not applicable for Privacy Act requests.

If the total anticipated fees are more than $250, or you have failed to pay fees in the past, USCIS may request an advance deposit.

USCIS will ne

bt process any Form G-639 until you pay all fees from prior requests.

[] I, the requestor, consent to pay all costs incurred for search, duplication, and review of documents up to $25.

Declaration

If you are the
must verify yc
below and hav

Sign and date

that the Request is True and Complete

subject of record and requesting records about yourself or requesting a correction or amendment of your records, you
ur identity by providing the information requested in Part 2., item Number 7. You MUST also sign your request
fe your signature notarized OR submitted under penalty of perjury.

the request. A stamped or typewritten name in place of a signature is not acceptable.

I certify, swear, or affirm, under penalty of perjury under the laws of the United States of America, that the information in this request

is complete, tr

1. Signature

ue, and correct.

of Requestor Date of Signature (mm/dd/yyyy)

a)

Part 4. Third-Party Requestor

1. Third-Party Requestor Identifying Information

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)
2. Third-Party Requestor Mailing Address and Contact Information

In Care Of Name (if any)

Street Number and Name Apt. Ste. Flr. Number

| }OO0

City or Town State ZIP Code

Province Postal Code Country

Telephone Number Email! Address

Form G-639 Ed

ition 07/25/2022 Page 7 of 11

Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 8 of 11

Part 4. Third-Party Requestor (continued)
3. nen Requestor's Relationship to the Subject of Record
What is t

If you are requesting information or amendment or correction of records on behalf of the subject of record (select only one for
Items A. + F.):

e relationship of the subject of record to the third-party requestor?

[_] A. Iam an attorney or accredited representative, acting on behalf of the subject of record.
[_] B. I|am requesting information about someone who is deceased.

[-] C. Ijam requesting information on behalf of my child or a minor for whom I am a legal guardian.

[] D. Other (Explain):

If you arejrequesting information about a subject of record with whom you have no relationship:

[_] E. Iam requesting as a member of the media.

[_] F. Other (Explain):

If you selected Item B. in Item Number 3., provide proof they are deceased, with a death certificate, obituary, photograph of a
funeral memorial or monument; or screen print from the Social Security Death Index; or probate documents filed in court. This is
not required if they were born more than 100 years before you submit this form.

4. Ifyou selected Item C. in Item Number 3., you must provide proof of parentage/guardianship, such as a birth certificate,
adoption decree, or similar document naming the requestor as the legal parent or guardian. You must also provide:

A. Parent/Guardian's Legal Name

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)
|
B. Parent/Guardian's Date of Birth C. Parent/Guardian's Country of Birth
(mm/dd/yyyy)

Consent by Subject of Record to Release Records to a Third-Party Requestor or Allow Amendment or Correction
of Records by a Third-Party Requestor

USCIS generally requests that third-party requestors prove they have the subject of the record's consent to receive the records.
Alternately, third-party requestors must prove the subject of record is deceased, or otherwise demonstrate that the requested records
are subject to release, such as when there is no privacy interest in the records, or if there is a public interest in the records that
outweighs the pabects privacy interests. Consent by the subject of record is generally not requested if the subject of record's birthdate
is more than 100 years before the submission of this request. Third party requestors who are seeking amendment or correction of
records pertaining to the subject of record must demonstrate that they have the subject of record's consent and that they are acting on
behalf of the subject of record.

To provide consent, complete one of the following options:
Option 1: Declaration Under Penalty of Perjury

[_] I, the subject of record, consent to USCIS releasing my records to a third-party requestor and/or allowing amendment or
correction) of my records by a third-party requestor, as named in Part 4.

5. Signature of Subject of Record Date of Signature (mm/dd/yyyy)

Form G-639 Edition 07/25/2022 Page 8 of 11
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Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 9 of 11

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Part 4. Third-Party Requestor (continued)

Option 2: Natarized Affidavit of Identity

IMPORTANT: Do NOT sign and date below until the notary public provides instructions to you.

By my signature, I consent to USCIS releasing my records to a third-party requestor and/or allowing amendment or correction of the
requested records to the third-party requestor, as named in Part 4.

6. Signature|of Subject of Record 7. Date of Signature (mm/dd/yyyy)

8. Subscribed and Sworn to Before Me on (mm/dd/yyyy)

9. Signature|of Notary 10. Notary's Telephone Number

11. My Commission Expires on (mm/dd/yyyy)

If you need extra space to complete this section, use the space provided in Part 5. Additional Information.

Form G-639 Edition 07/25/2022 Page 9 of 11

Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 10 of 11

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Part 5. Additional Information

If you need extra space to provide any additional information within this request, use the space below. You may also make copies of
this page to complete this request or attach a separate sheet of paper.

If you attach additional paper:

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.

Type or print the subject of record's name and their A-number (if known) at the top of each sheet;

Indicate the Page Number, Part Number, and Item Number to which your answer refers: and

Sign and date each sheet.

Subject of Record's Family Name (Last Name) Subject of Record's Given Name (First Name) Subject of Record's Middle Name

Subject of Record's A-Number (if any) PB A- |

A. Page Number B. Part Number C. Item Number

A. Page Number B. Part Number C. Item Number

A. Page Number B. Part Number C. Item Number
——_
tl

A. Page Number B. Part Number C. item Number
1
Ld

A. Page Number B. Part Number C. Item Number

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Form G-639 Edition 07/25/2022 Page 10 of 11

Case 3:19-cv-03512-WHO Document 141-3 Filed 09/29/22 Page 11 of 11

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DHS Privacy Notice |

AUTHORITIES: The information requested on this form, and the associated evidence, is collected under the Freedom of Information
Act (FOIA), 5 U.S.C. Section 552, and the Privacy Act of 1974 (PA), 5 U.S.C. Section 552a, together with the Department of Homeland
Security implementing regulations found in volume 6 of the Code of Federal Regulations (CFR).

PURPOSE: The primary purpose for providing the requested information on this form is to request access to information under the
FOIA and/or PA, or amendment or correction of records under the PA. DHS uses the information you provide to grant or deny the
information request you are seeking.

DISCLOSURE: The information you provide is voluntary. However, failure to provide the requested information, and any
requested evidence, may delay access to information or result in denial of your information or amendment request.

ROUTINE USES: DHS may share the information you provide on this form and any additional requested evidence with other
Federal, state, local, and foreign government agencies and authorized organizations. DHS follows approved routine uses described in
the associated| published system of records notices [DHS/ALL-001 DHS FOIA and Privacy Act Record System and DHS/ALL-037 E-
Authentication Records System of Records] and the published privacy impact assessments [DHS/USCIS/PIA-077 FOIA Immigration
Records System (FIRST) and DHS/ALL/PIA-038 FOIA/PA Information Processing System], which you can find at
www.dhs.gow/privacy. DHS may also share this information, as appropriate, for law enforcement purposes or in the interest of
national security.

Paperwork Reduction Act

An agency aay not conduct or sponsor an information coliection, and a person is not required to respond to a collection of information,
unless it displays a currently valid Office of Management and Budget (OMB) control number. The public reporting burden for this
collection of information is estimated at 40 minutes per response, including the time for reviewing instructions, gathering the required
documentation and information, completing the request. preparing statements, attaching necessary documentation, and submitting the
request. Sendjcomments regarding this burden estimate or any other aspect of this collection of information, including suggestions for
reducing this burden, to: U.S. Citizenship and Immigration Services, Office of Policy and Strategy, Regulatory Coordination Division,
5900 Capital Gateway Drive, Mail Stop #2140, Camp Springs, MD 20588-0009; OMB No. 1615-0102. Do not mail your completed
Form G-639 to this address.

Form G-639 Edition 07/25/2022 Page 11 of 11

